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                                                                           United States District Court
                                                                             Southern District of Texas

                     UNITED STATES DISTRICT COURT                               ENTERED
                  FOR THE SOUTHERN DISTRICT OF TEXAS                         February 11, 2025
                           HOUSTON DIVISION                                  Nathan Ochsner, Clerk



Imani Chinda                               §
                                           §
versus                                     §        Civil Action 4:24−cv−05106
                                           §
HSA St. Joseph LLC                         §


                      ORDER STRIKING PLEADING
       Pending before the Court is Motion to Dismiss for Failure to State a Claim − #11
filed by HSA St. Joseph LLC. The instrument is deficient for the following reason(s):

          The motion does not comply with the Courts Procedures section 6(E),
          regarding discovery and scheduling disputes.

          The motion does not comply with the Courts Procedures section 6(B),
          regarding pre-motion conferences required for particular motions.

          The motion does not comply with the Courts Procedures section 6(C)(2),
          which requires a certificate of conference for all motions.

          The motion does not comply with the Courts Procedures section 6(C)(3),
          which requires a separate proposed order for all motions except those filed
          under Federal Rule of Civil Procedure 56.


      The Clerk is hereby ORDERED to strike the above instrument(s) from the record
and notify counsel of such action.

      Signed on February 11, 2025, at Houston, Texas.
